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 1   CAROL ANN MOSES #164193
     Attorney at Law
 2   545 East Alluvial, Suite 112
     Fresno, California 93720
 3   Telephone (559) 449-9069
     Facsimile (559) 449-9016
 4
 5   Attorney for Defendant,
     ANTONIO DE LEON
 6
 7
 8                                           UNITED STATES DISTRICT COURT
 9                                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )                    CASE NO. 1:08-cr-00246-OWW
                                         )
12               Plaintiff,              )
                                         )                    STIPULATION TO CONTINUE
13                                       )                    SENTENCING TO AUGUST 8, 2011;
     vs.                                 )                    ORDER
14                                       )
                                         )
15   ANTONIO DE LEON,                    )                    Date: August 8, 2011
                                         )                    Time: 1:30 PM
16               Defendant.              )                    Judge: Hon. Oliver W. Wanger
                                         )
17   ____________________________________)
18
19              IT IS HEREBY STIPULATED by and between the parties hereto, and through their
20   respective attorneys of record herein, that the Sentencing of Defendant, ANTONIO DE LEON
21   currently set for July 25, 2011 at 1:30 p.m. in the above captioned matter may be continued to
22   August 8, 2011, at 1:30 p.m.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

     STIPU LATIO N TO C O N TIN U E
     SEN TEN C IN G TO AU G U ST 8, 2011;
     O R D ER THER EO N                                   1
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 1              This request is made because the defense counsel has a scheduling conflict. Assistant
 2   United States Attorney Kathleen Servatius has no objection to this request.
 3
 4   Dated: June 16, 2011                                   By: /s/ Carol Ann Moses
                                                                   CAROL ANN MOSES
 5                                                                 Attorney for Antonio De Leon
 6   Dated: June 16, 2011                                           LAWRENCE G. BROWN
                                                                    Acting United States Attorney
 7
 8                                                          By: /s/ Kathleen Servatius
                                                                   KATHLEEN SERVATIUS
 9                                                                 Assistant U.S. Attorney
10
11
12                                                  ORDER
13
14
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24
     IT IS SO ORDERED.
25
     Dated: June 17, 2011                                /s/ Oliver W. Wanger
26   emm0d6                                         UNITED STATES DISTRICT JUDGE
27
28

     STIPU LATIO N TO C O N TIN U E
     SEN TEN C IN G TO AU G U ST 8, 2011;
     O R D ER THER EO N                                 2
